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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

NICHOLAS LACKEY,                            §
          Plaintiff,                        §
                                            §
VS.                                         §       CIVIL ACTION NO.
                                            §       3:17-CV-02345-B
ABEL SALAZAR and AUSTIN                     §
PALMER,                                     §
          Defendants.                       §
                                            §


                 ORIGINAL ANSWER OF DEFENDANT SALAZAR

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Defendant Officer Abel Salazar (“Officer Salazar”), in his individual

capacity, and for his Original Answer to Plaintiff's Original Complaint (Doc. 1) admits,

denies, and alleges as follows:

                                         I.
                                   GENERAL DENIAL

        Except as herein expressly provided below and except for those allegations which may

constitute admissions against the interest of Plaintiff, Officer Salazar denies each and every

allegation of the Plaintiff's Original Complaint and demands strict proof thereof.

                                       II.
                              RESPONSIVE PLEADINGS

A.      Jurisdiction and Venue

        No contest.

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B.      Parties

        No contest.

C.      Specific Denials

        1.    Except as otherwise expressly provided herein, Officer Salazar specifically

denies the allegations contained in Paragraphs 1, 11, 12, 13, 15, 16, 17, 20, 21, 22, 23, and 24

of Plaintiff’s Original Complaint.

        2.    Officer Salazar specifically denies hitting or beating Plaintiff.

        3.    Officer Salazar specifically denies striking Plaintiff’s head into the dashboard

or steering wheel.

        4.    Officer Salazar specifically denies digging his knees into Plaintiff’s back.

        5.    Officer Salazar specifically denies placing Plaintiff into a hold with the

intention of choking him or twisting his neck.

        6.    Officer Salazar specifically denies that when he grabbed Plaintiff’s hair in an

attempt to prevent Plaintiff from jumping into the unsecure back seat of Plaintiff’s car that he

did so with the intention of pulling Plaintiff’s hair or causing him pain.

        7.    Officer Salazar specifically denies placing handcuffs on Plaintiff in an

excessively tight manner.

        8.    Officer Salazar specifically denies shoving Plaintiff on to the hood of the

police car.




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        9.     Officer Salazar specifically denies that he violated any of Plaintiff’s federal

constitutional or statutory rights or any rights secured under state law as alleged in Plaintiff’s

Original Complaint. More particularly, Officer Salazar specifically denies that he violated

Plaintiff’s constitutional right not to be subjected to excessive force pursuant to the Fourth

Amendment of the United States Constitution and 42 U.S.C. § 1983.

        10.    Officer Salazar specifically denies that Plaintiff sustained any physical injury

that resulted directly and only from the use of force by Officer Salazar that was clearly

excessive to the need and that was objectively unreasonable.

        11.    Officer Salazar specifically denies Plaintiff is entitled to compensatory

damages, punitive damages, pre-judgment or post judgment interest, court costs, attorney’s

fees or any other relief demanded from him in Plaintiff’s Original Complaint.

D.      No Knowledge

        Except as otherwise expressly provided herein, Officer Salazar has insufficient

knowledge or information at this time to admit or deny the allegations contained in Paragraph

14 of Plaintiff’s Original Complaint.

E.      Admissions

        1.     Except as otherwise expressly provided herein, Officer Salazar admits the

allegations contained in Paragraphs 2, 3, 4, 5, 6, 7, 8, 9, 10, 18, 19, and 25 of Plaintiff’s

Original Complaint.




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        2.     During the traffic stop, Officer Salazar admits that he repeatedly requested that

Plaintiff exit his vehicle because Plaintiff had a suspended driver’s license and did not have

valid plates on his car. Officer Salazar had probable cause to detain and arrest Plaintiff.

        3.     Officer Salazar admits that he did not inform Plaintiff that he was going to tow

his vehicle prior to removing him from the car because he believed Plaintiff, who was

agitated, belligerent, and non-cooperative from the beginning of the traffic stop, would

become even more agitated. Officer Salazar was concerned that Plaintiff posed a risk to

officer safety and/or to Plaintiff.

        4.     Officer Salazar admits that when Plaintiff refused to exit the vehicle despite the

officer ordering him to do so multiple times, he reached into Plaintiff’s vehicle, opened the

door, and tried to remove Plaintiff from the vehicle with physical force. Plaintiff pushed

Officer Salazar’s hand away, actively resisted, and retreated into the front seat of the car

instead of following Officer Salazar’s instructions to step out of the car.

        5.     After Plaintiff resisted being removed from the car, Officer Salazar admits

there was a prolonged struggle inside the very small, confined space of the vehicle as the

officers attempted to restrain and handcuff Plaintiff, who was actively resisting the whole

time.

        6.     Officer Salazar admits that when Plaintiff attempted to jump into the back seat,

Officer Salazar reflexively reached toward Plaintiff, grabbing his hair, in an attempt to

maintain a hold on him and to keep him in the front seat for officer safety. When that proved


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ineffectual, Officer Salazar released Plaintiff’s hair.

        7.     Officer Salazar admits that he placed Plaintiff in a hold, placing his arms

around Plaintiff’s upper chest area in order to restrain Plaintiff after a prolonged struggle

inside the vehicle. Officer Salazar admits that his arm came into contact with Plaintiff’s neck

at that time but that he did not intend to choke or twist Plaintiff’s neck.

        8.     Officer Salazar admits that either he or Officer Palmer handcuffed Plaintiff

while Plaintiff was lying face down in the front seat of the car. Officer Salazar admits that

one of the officers may have placed his knee on Plaintiff’s back while handcuffing Plaintiff

in accordance with standard operating procedure and officer training on how to safely

restrain and handcuff a person who is resisting.

        9.     Officer Salazar admits that after being handcuffed, Plaintiff was placed, with

his chest down, against the hood of a police car while being searched for weapons.

                                      III.
                               AFFIRMATIVE DEFENSES

1.      Failure to State a Claim

        Officer Salazar asserts that Plaintiff has failed to state an actionable federal claim

against him under 42 U.S.C. § 1983, upon which relief may be granted by the Court.

2.      Qualified and Official Immunity

        Officer Salazar asserts that Plaintiff’s claims for monetary damages against him are

barred by the doctrines of qualified and official immunity. Officer Salazar asserts that he is

entitled to such immunity because at all times he was acting in good faith and within the

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course and scope of his authority as an officer, he did not violate clearly established law of

which a reasonable person would have known, and a reasonable officer could have believed

that his actions were lawful in light of clearly established law and the information he

possessed at the time. In further support of his defense of qualified immunity, Officer

Salazar repeats and realleges each of the facts alleged supra.

                                           PRAYER

       WHEREFORE, PREMISES CONSIDERED, Officer Salazar prays that the Court will

dismiss this suit with prejudice, that Plaintiff take nothing by this action against him, that he

recover his costs including a reasonable attorney’s fee herein, and any other relief to which

he may be justly entitled under the law.

                                            Respectfully submitted,

                                            FAITH JOHNSON
                                            DISTRICT ATTORNEY

                                            /s/ Tammy J. Ardolf
                                            TAMMY J. ARDOLF
                                            ASSISTANT DISTRICT ATTORNEY
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                                            ATTORNEYS FOR DEFENDANT
                                            OFFICER ABEL SALAZAR
                                            IN HIS INDIVIDUAL CAPACITY

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                             CERTIFICATE OF SERVICE

       In accordance with the Rule 5(b)(2)(E) of the Federal Rules of Civil Procedure and

Local Rule 5.1(d), I hereby certify that a true and correct copy of the foregoing instrument

has been electronically served upon all parties.


                                          /s/ Tammy J. Ardolf
                                          TAMMY J. ARDOLF




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